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   United States of America
 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
11 UNITED STATES OF AMERICA,                              2:18-CR-0001-MCE
12                                 Plaintiff,             AMENDED STIPULATION AND ORDER TO
                                                          CONTINUE STATUS CONFERENCE
13                          v.
                                                          Date: April 12, 2018
14 TONY ACOSTA ALVAREZ, and                               Time: 10:00 a.m.
   LIONEL ORNELAS, aka LIONEL ORNELUS,                    Judge: Hon. Morrison C. England, Jr.
15
                         Defendants.
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18          Plaintiff United States of America, through its respective counsel, and defendants Tony Acosta

19 Alvarez and Lionel Ornelas, through their counsel of record, stipulate that the status conference currently

20 set for April 12, 2018, be continued to May 17, 2018, at 10:00 a.m.
21          On January 4, 2018, Mr. Alvarez and Mr. Ornelas were both arraigned on the twenty-nine-count

22 Indictment in this case. (ECF No. 21.) Since that time, the United States has produced 300-plus pages
23 of discovery to each defendant, which includes the defendants’ criminal histories, three complete search
24 warrant packages from December 19, 2017 (the day each man was arrested at his home), and all of the
25 investigative packages (i.e., pen-trap and § 2703(d) packages) submitted to the Court during the lifespan
26 of this 8-month investigation. Recently, the government received from the Federal Bureau of Invest-
27 igation an additional set of materials, which includes all official reports prepared in connection with this
28 case, and all audio and video recordings from surveillance. The government will prepare these materials

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 1 for disclosure to both defense counsel, who will require additional time to review these new materials, as
 2 well as the materials already produced, to discuss them their clients, to conduct additional investigation,
 3 and to otherwise prepare for trial.
 4          Based on the foregoing, the parties stipulate that the status conference currently scheduled for

 5 April 12, 2018, be continued to May 17, 2018, at 10:00 a.m. The parties further agree that time under
 6 the Speedy Trial Act should be excluded from the date this order issues to and including May 17, 2018,
 7 under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare] and General Order 479, Local
 8 Code T4, based on continuity of counsel and defense preparation.

 9          The parties agree that the failure to grant a continuance in this case would deny defense counsel

10 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.
11 The parties also agree that the ends of justice served by the Court granting the requested continuance
12 outweigh the best interests of the public and the Defendants in a speedy trial.

13                                                        Respectfully submitted,

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15 Dated: April 10, 2018                                  _/s/ Timothy H. Delgado____________
                                                          TIMOTHY H. DELGADO
16                                                        Assistant United States Attorney
                                                          Attorney for Plaintiff United States
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18
     Dated: April 10, 2018                                _/s/ THD for Michael Petrik, Jr.______
19                                                        MICHAEL PETRIK, JR.
                                                          Assistant Federal Defender
20                                                        Attorney for Defendant Tony Acosta Alvarez
21
22 Dated: April 10, 2018                                  _/s/ THD for Tasha Paris Chalfant____
                                                          TASHA PARIS CHALFANT
23                                                        Attorney for Defendant Lionel Ornelas
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 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the
 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective
 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of
 6 justice served by granting the requested continuance outweigh the best interests of the public and the
 7 Defendants in a speedy trial.
 8          Time from the date of this order, up to and including May 17, 2018, shall be excluded from

 9 computation of time within which the trial in this case must be commenced under the Speedy Trial Act,
10 pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time for counsel to prepare] and General
11 Order 479 (Local Code T4). It is further ordered that the April 12, 2018 status conference shall be
12 continued until May 17, 2018, at 10:00 a.m.

13          IT IS SO ORDERED.

14 Dated: April 13, 2018
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      STIPULATION AND ORDER TO CONTINUE STATUS             3
30    CONFERENCE
